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                   UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO

                                         )
                                         )
Kelly Haskell,                           ) Case No.:
                                         )
Plaintiff.                               ) 3:20-cv-02845-JZ
                                         )
      v.                                 )
                                         )
Charter Communications, Inc.,            )
                                         )
Defendant.                               )
                                         )

                          NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: August 11, 2021                 By: /s/ Jacob U. Ginsburg
                                         Jacob U. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Pike
                                         Ambler, PA 19002
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                                         Email: jginsburg@creditlaw.com
      Case: 3:20-cv-02845-JZ Doc #: 14 Filed: 08/11/21 2 of 2. PageID #: 60




                         CERTIFICATE OF SERVICE

            I, Jacob U. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via CM/ECF system:

JOSEPH S. CARR
KABAT CHAPMAN & OZMER
Ste. 1550
1711 17th Street, NW
Atlanta, GA 30363
404-400-7333
Email: scarr@kcozlaw.com
Attorney for Defendant




Dated: August 11, 2021                     By: /s/ Jacob U. Ginsburg
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